          Case 3:21-cv-00431-BAJ-EWD             Document 8      09/27/21 Page 1 of 24




                              UNITED STATES DISTRICT COURT

                               MIDDLE DISTRICT OF LOUISIANA

ALLIED WORLD NATIONAL                                  *
ASSURANCE COMPANY                                      *
                                                       *      CIVIL ACTION NO. 3:21-cv-00431
                                Plaintiff              *
                                                       *
VERSUS                                                 *
                                                       *      JUDGE: BRIAN A. JACKSON
                                                       *
                                                       *      MAG. JUDGE:
                                                       *      ERIN WILDER-DOOMES
NISUS COPORATION, ET AL.                               *
                                                       *
                                Defendants             *

              SPEARS MANUFACTURING COMPANY’S ANSWER TO
         COMPLAINT OF ALLIED WORLD NATIONAL ASSURANCE COMPANY

         COMES NOW, through undersigned counsel, Spears Manufacturing Company (“Spears”),

and in response to the Complaint of Allied World National Assurance Company (“Allied”) with

respect avers:

                                            FIRST DEFENSE

         Plaintiff’s Complaint fails to state a claim upon which relief can be granted.

                                        SECOND DEFENSE

         Responding to the individual paragraphs of the Complaint, Defendant Spears respectfully

avers:

                                                  1.

         The allegations in Paragraph 1 are denied for lack of sufficient information to justify a

belief therein.



                                                  1
         Case 3:21-cv-00431-BAJ-EWD             Document 8      09/27/21 Page 2 of 24




                                                 2.

        The allegations in Paragraph 2 are denied for lack of sufficient information to justify a

belief therein.

                                                 3.

        Defendant Spears admits that it is a Nevada corporation with its principal place of business

in Nevada. Defendant denies the remaining allegations contained in paragraph 3.

                                                 4.

        Defendant Spears admits that jurisdiction is proper.

                                                 5.

        Defendant Spears admits that personal jurisdiction is proper over Spears. Defendant Spears

denies the remaining allegations contained in Paragraph 5, specifically that Spears caused injury

or damage in Louisiana.

                                                 6.

        Paragraph 6 contains a legal conclusion which Defendant is not required to respond to,

however, Defendant Spears admits that long-arm jurisdiction satisfies the Due Process Clause of

the Fourteenth Amendment.

                                                 7.

        Defendant Spears admits that venue is proper in the Middle District of Louisiana.

                                                 8.

        The allegations in Paragraph 8 are denied for lack of sufficient information to justify a

belief therein.




                                                 2
         Case 3:21-cv-00431-BAJ-EWD            Document 8      09/27/21 Page 3 of 24




                                                9.

        The allegations in Paragraph 9 are denied for lack of sufficient information to justify a

belief therein.

                                               10.

        The allegations in Paragraph 10 are denied for lack of sufficient information to justify a

belief therein.

                                               11.

        The allegations in Paragraph 11 are denied for lack of sufficient information to justify a

belief therein.

                                               12.

        The allegations in Paragraph 12 are denied for lack of sufficient information to justify a

belief therein.

                                               13.

        The allegations in Paragraph 13 are denied for lack of sufficient information to justify a

belief therein.

                                               14.

        The allegations in Paragraph 14 are denied for lack of sufficient information to justify a

belief therein.

                                               15.

        Defendant Spears admits that it manufactures FlameGuard® chlorinated polyvinyl chloride

(“CVPC”) pipes. Defendant Spears denies the remaining allegations for lack of sufficient

information.




                                                3
         Case 3:21-cv-00431-BAJ-EWD            Document 8      09/27/21 Page 4 of 24




                                               16.

        The allegations in Paragraph 16 are denied for lack of sufficient information to justify a

belief therein.

                                               17.

        Defendant Spears admits that it manufactures fittings to be used in conjunction with its

FlameGuard® pipe systems and that it manufactures FS-5 One-Step CPVC cement to used in

conjunction with FlameGuard® pipe systems.

                                               18.

        The allegations in Paragraph 18 are denied for lack of sufficient information to justify a

belief therein.

                                               19.

        The allegations in Paragraph 19 are denied for lack of sufficient information to justify a

belief therein.

                                               20.

        The allegations in Paragraph 20 are denied for lack of sufficient information to justify a

belief therein.

                                               21.

        The allegations in Paragraph 21 are denied for lack of sufficient information to justify a

belief therein.

                                               22.

        The allegations in Paragraph 22 are denied for lack of sufficient information to justify a

belief therein.




                                                4
         Case 3:21-cv-00431-BAJ-EWD            Document 8      09/27/21 Page 5 of 24




                                               23.

        The allegations in Paragraph 23 are denied for lack of sufficient information to justify a

belief therein.

                                               24.

        The allegations in Paragraph 24 are denied for lack of sufficient information to justify a

belief therein.

                                               25.

        The allegations in Paragraph 25 are denied for lack of sufficient information to justify a

belief therein.

                                               26.

        The allegations in Paragraph 26 are denied for lack of sufficient information to justify a

belief therein.

                                               27.

        The allegations in Paragraph 27 are denied for lack of sufficient information to justify a

belief therein.

                                               28.

        The allegations in Paragraph 28 are denied for lack of sufficient information to justify a

belief therein.

                                               29.

        The allegations in Paragraph 29 are denied for lack of sufficient information to justify a

belief therein.




                                                5
         Case 3:21-cv-00431-BAJ-EWD            Document 8      09/27/21 Page 6 of 24




                                               30.

        The allegations in Paragraph 30 are denied for lack of sufficient information to justify a

belief therein.

                                               31.

        The allegations in Paragraph 31 are denied for lack of sufficient information to justify a

belief therein.

                                               32.

        The allegations in Paragraph 32 are denied for lack of sufficient information to justify a

belief therein.

                                               33.

        The allegations in Paragraph 33 are denied for lack of sufficient information to justify a

belief therein.

                                               34.

        The allegations in Paragraph 34 are denied for lack of sufficient information to justify a

belief therein.

                                               35.

        The allegations in Paragraph 35 are denied for lack of sufficient information to justify a

belief therein.

                                               36.

        The allegations in Paragraph 36 are denied for lack of sufficient information to justify a

belief therein.




                                                6
         Case 3:21-cv-00431-BAJ-EWD            Document 8       09/27/21 Page 7 of 24




                                                37.

        The allegations in Paragraph 37 are denied for lack of sufficient information to justify a

belief therein.

                                                38.

        The allegations in Paragraph 38 are denied for lack of sufficient information to justify a

belief therein.

                                                39.

        The allegations in Paragraph 39 are not directed towards Defendant Spears, however, to

the extent that they are, the allegations are denied for lack of sufficient information to justify a

belief therein.

                                                40.

        The allegations in Paragraph 40 are not directed towards Defendant Spears, however, to

the extent that they are, the allegations are denied for lack of sufficient information to justify a

belief therein.

                                                41.

        The allegations in Paragraph 41 are not directed towards Defendant Spears, however, to

the extent that they are, the allegations are denied for lack of sufficient information to justify a

belief therein.

                                                42.

        The allegations in Paragraph 42 are not directed towards Defendant Spears, however, to

the extent that they are, the allegations are denied for lack of sufficient information to justify a

belief therein.




                                                 7
         Case 3:21-cv-00431-BAJ-EWD            Document 8       09/27/21 Page 8 of 24




                                                43.

        The allegations in Paragraph 43 are not directed towards Defendant Spears, however, to

the extent that they are, the allegations are denied for lack of sufficient information to justify a

belief therein.

                                                44.

        The allegations in Paragraph 44 are not directed towards Defendant Spears, however, to

the extent that they are, the allegations are denied for lack of sufficient information to justify a

belief therein.

                                                45.

        The allegations in Paragraph 45 are denied.



                                                46.

        The allegations in Paragraph 46 are denied.

                                                47.

        The allegations in Paragraph 47 are denied.

                                                48.

        The allegations in Paragraph 48 are denied.

                                                49.

        The allegations in Paragraph 49 are denied.

                                                50.

        The allegations in Paragraph 50 are denied.

                                                51.

        The allegations in Paragraph 51 are denied.



                                                 8
         Case 3:21-cv-00431-BAJ-EWD            Document 8      09/27/21 Page 9 of 24




                                               52.

        Defendant Spears admits that its products are available for purchase in Louisiana. The

remaining allegations contained in paragraph 52 are denied for lack of sufficient information to

justify a belief therein.

                                               53.

        The allegations in Paragraph 53 are denied for lack of sufficient information to justify a

belief therein.

                                               54.

        The allegations in Paragraph 54 are denied for lack of sufficient information to justify a

belief therein.

                                               55.

        The allegations in Paragraph 55 are denied for lack of sufficient information to justify a

belief therein.

                                               56.

        The allegations in Paragraph 56 are denied for lack of sufficient information to justify a

belief therein.

                                               57.

        The allegations in Paragraph 57 are denied for lack of sufficient information to justify a

belief therein.

                                               58.

        The allegations in Paragraph 58 are denied for lack of sufficient information to justify a

belief therein. Furthermore, Defendant Spears specifically denies that its products caused damage

to Plaintiff.



                                                9
        Case 3:21-cv-00431-BAJ-EWD             Document 8      09/27/21 Page 10 of 24




                                                59.

        The allegations in Paragraph 59 are denied for lack of sufficient information to justify a

belief therein.

                                                60.

        The allegations in Paragraph 60 are denied for lack of sufficient information to justify a

belief therein.

                                                61.

        The allegations in Paragraph 61 are denied for lack of sufficient information to justify a

belief therein.

                                                62.

        The allegations in Paragraph 62 are denied for lack of sufficient information to justify a

belief therein.

                                                63.

        The allegations in Paragraph 63 are denied for lack of sufficient information to justify a

belief therein.

                                                64.

        Defendant Spears admits that a Tender of Defense and Indemnity was issued to Spears on

May 17, 2021.

                                                65.

        Defendant Spears admits that it has not compensated Plaintiff for any alleged damage

caused by its products to date.

                                                66.

        Defendant Spears specifically denies liability to Plaintiff Allied for any damage allegedly



                                                10
          Case 3:21-cv-00431-BAJ-EWD            Document 8      09/27/21 Page 11 of 24




caused by Defendant’s products, including any damages allegedly caused by Defendants

FlameGuard® pipe systems, fittings, and/or FS-5 One-Step CPVC cement.

               COUNT I – NISUS’ UNREASONBLY DANGEROUS PRODUCT

                                                 67.

          Defendant Spears’ preceding responses are incorporated by reference as if fully set forth

herein.

                                                 68.

          The allegations in Paragraph 68 are not directed towards Defendant Spears, however, to

the extent that they are, the allegations are denied for lack of sufficient information to justify a

belief therein.

                                                 69.

          The allegations in Paragraph 69 are not directed towards Defendant Spears, however, to

the extent that they are, the allegations are denied for lack of sufficient information to justify a

belief therein.

                                                 70.

          The allegations in Paragraph 70 are not directed towards Defendant Spears, however, to

the extent that they are, the allegations are denied for lack of sufficient information to justify a

belief therein.

                                                 71.

          The allegations in Paragraph 71 are not directed towards Defendant Spears, however, to

the extent that they are, the allegations are denied for lack of sufficient information to justify a

belief therein.




                                                 11
          Case 3:21-cv-00431-BAJ-EWD            Document 8      09/27/21 Page 12 of 24




                                                 72.

          The allegations in Paragraph 72 are not directed towards Defendant Spears, however, to

the extent that they are, the allegations are denied for lack of sufficient information to justify a

belief therein.

                                                 73.

          The allegations in Paragraph 73 are not directed towards Defendant Spears, however, to

the extent that they are, the allegations are denied for lack of sufficient information to justify a

belief therein.

                                                 74.

          The allegations in Paragraph 74 are not directed towards Defendant Spears, however, to

the extent that they are, the allegations are denied for lack of sufficient information to justify a

belief therein.

                           COUNT II – NISUS’ FAILURE TO WARN

                                                 75.

          Defendant Spears’ preceding responses are incorporated by reference as if fully set forth

herein.

                                                 76.

          The allegations in Paragraph 76 are not directed towards Defendant Spears, however, to

the extent that they are, the allegations are denied for lack of sufficient information to justify a

belief therein.

                                                 77.

          The allegations in Paragraph 77 are not directed towards Defendant Spears, however, to

the extent that they are, the allegations are denied for lack of sufficient information to justify a



                                                 12
          Case 3:21-cv-00431-BAJ-EWD             Document 8      09/27/21 Page 13 of 24




belief therein.

                                                  78.

          The allegations in Paragraph 78 are not directed towards Defendant Spears, however, to

the extent that they are, the allegations are denied for lack of sufficient information to justify a

belief therein.

                                                  79.

          The allegations in Paragraph 79 are not directed towards Defendant Spears, however, to

the extent that they are, the allegations are denied for lack of sufficient information to justify a

belief therein.



                                                  80.

          The allegations in Paragraph 80 are not directed towards Defendant Spears, however, to

the extent that they are, the allegations are denied for lack of sufficient information to justify a

belief therein.

            COUNT III – SPEARS’ UNREASONABLY DANGEROUS PRODUCTS

                                                  81.

          Defendant Spears’ preceding responses are incorporated by reference as if fully set forth

herein.

                                                  82.

          Defendant Spears admits that it is a “manufacturer” as that term is defined in the Louisiana

Products Liability Act.

                                                  83.

          Defendant admits that it designed and manufactured the CPVC piping that was used in the



                                                  13
          Case 3:21-cv-00431-BAJ-EWD             Document 8       09/27/21 Page 14 of 24




Nicholson Gateway Project.

                                                  84.

          The allegations in Paragraph 84 are denied.

                                                  85.

          The allegations in Paragraph 85 are denied.

                                                  86.

          The allegations in Paragraph 86 are denied. Specifically, Defendant Spears denies that

Spears’ products were the proximate cause of any of Plaintiff’s damages.

                                                  87.

          The allegations in Paragraph 87 are denied for lack of sufficient information to justify a

belief therein. Defendant Spears specifically denies that Plaintiff’s insured suffered property

damage from a reasonably anticipated use of Spears’ CPVC pipe and cement.

                                                  88.

          Defendant Spears specifically denies that it is liable to Plaintiff Allied under the LPLA.

                          COUNT IV – SPEARS’ FAILURE TO WARN

                                                  89.

          Defendant Spears’ preceding responses are incorporated by reference as if fully set forth

herein.

                                                  90.

          The allegations in Paragraph 90 are denied. Defendant Spears specifically denies that

Spears’ CVPC pipe, fittings, and cement cause damage when used properly.

                                                  91.

          The allegations in Paragraph 91 are denied. Defendant Spears specifically denies that it



                                                   14
          Case 3:21-cv-00431-BAJ-EWD             Document 8       09/27/21 Page 15 of 24




failed to provide an adequate warning to users of the compatibility of its products with other

chemicals.

                                                   92.

          The allegations in Paragraph 92 are denied. Defendant Spears specifically denies that

Plaintiff’s damages were caused by Spears’ CVPC pipe fittings, and cement being incompatible

with Bora-Care.

                                                   93.

          The allegations in Paragraph 93 are denied. Defendant Spears specifically denies that

Plaintiff’s insured suffered property damage from a reasonably anticipated use of Spears’ CPVC

pipe and cement.

                                                   94.

          Defendant Spears specifically denies that it is liable to Plaintiff under the LPLA.

                       COUNT V – REDHIBITION, NEGLIGENCE, AND
                        BREACH OF WARRANTY AGAINST SPEARS

                                                   95.

          Defendant Spears’ preceding responses are incorporated by reference as if fully set forth

herein.

                                                   96.

          Defendant Spears denies that it is allegedly liable under any theory outside the LPLA and

specifically denies that it is liable under theories of redhibition, negligence, breach of warranty,

breach of implied warranty, and breach of warranty of fitness for ordinary use.

                                          THIRD DEFENSE

          The Complaint fails to state a right of action against Spears.




                                                   15
        Case 3:21-cv-00431-BAJ-EWD              Document 8       09/27/21 Page 16 of 24




                                       FOURTH DEFENSE

       All causes of action or claims for relief alleged in the Complaint are barred by prescription,

the applicable statute of limitations, statute of response, and/or by the equitable doctrines of laches

and estoppel.

                                         FIFTH DEFENSE

       Plaintiff’s claims are barred or limited for failure of Plaintiff or Plaintiff’s insureds to

timely inspect or investigate any apparent damages, for failing to mitigate damages, failing to take

any timely remedial action, and/or failing to timely file claims.

                                         FIFTH DEFENSE

       Defendant Spears specifically avers the applicability and exclusivity of the Louisiana

Products Liability Act (“LPLA”) (La. R.S. 9:2800.51, et seq.) and specifically avers that Plaintiff

is not entitled to recovery against it under any of the exclusive theories of products liability

recovery set forth therein.

                                        SIXTH DEFENSE

       Defendant Spears specifically avers that the products identified in Plaintiff’s Complaint

possess no characteristics which render them unreasonably dangerous in a reasonably anticipated

use as defined by the LPLA. (La. R.S. 9:2800.51, et seq.).

                                      SEVENTH DEFENSE

       Defendant Spears specifically avers the applicability of La. R.S. 9:2800.59 and that all

products designed, manufactured, packaged, labeled, sold, and distributed by Spears were done in

conformity with the then-existing reasonably available scientific and technological knowledge,

and, therefore, Spears can have no liability in the premises.




                                                  16
        Case 3:21-cv-00431-BAJ-EWD               Document 8       09/27/21 Page 17 of 24




                                        EIGHTH DEFENSE

        Defendant Spears specifically avers that Plaintiff is not entitled to allege recovery under

any theory of recovery not expressly set forth within the exclusive provisions of the LPLA.

                                         NINTH DEFENSE

        Defendant Spears specifically avers that any damages and/or losses and/or expense

incurred that Plaintiff alleges it has sustained and/or will sustain, were the result of Plaintiff’s

insured’s own fault and breach of their contractual obligations of good workmanship, for

permitting the installation of application by spraying or otherwise of incompatible chemicals,

sprays, or any other foreign substance or material on any of the CPVC pipe, and/or were caused

by the fault of third persons or other parties, including the fault of Plaintiff’s insured’s contractors

and subcontractors that installed or applied, by spraying or otherwise, incompatible chemicals,

sprays, or any other foreign substance or material to any of the CPVC pipe.

                                        TENTH DEFENSE

        Defendant Spears specifically avers that any damages allegedly sustained by Plaintiff and

its insured are solely and proximately the result of Plaintiff’s and its insured’s voluntary

assumption of known risks, dangers, and/or hazards, all of which were or should have been obvious

and known to Plaintiff and its insured, and therefore Plaintiff is estopped from claiming any right

of recovery whatsoever against Spears for any alleged damages.

                                      ELEVENTH DEFENSE

        Defendant Spears specifically avers that Plaintiff’s insureds and/or their contractors or

subcontractors were sophisticated users of CPVC piping and knew or should have known of the

possible risks, hazards, and/or dangers which are the subject of this complaint. Because Plaintiff’s

insureds were sophisticated users, Spears did not have a duty to warn or had a limited duty to warn



                                                  17
        Case 3:21-cv-00431-BAJ-EWD              Document 8       09/27/21 Page 18 of 24




of the possible risks, hazards, and/or dangers of CPVC piping.

                                      TWELFTH DEFENSE

       Defendant Spears specifically avers that it fulfilled any duty to warn sophisticated users,

including Plaintiff’s insureds. Defendant Spears further specifically alleges that Plaintiff and at

least one of Plaintiff’s insureds, The Lemoine Company, LLC (“Lemoine”), had prior experience

with Spears’ manufactured piping and fittings and specifically knew and/or held special

knowledge related to the effects of various chemicals being applied to Spears manufactured piping

and fittings. Defendant Spears specifically alleges that Plaintiff and Lemoine had expertise,

training, and education related to Spears piping and chemical interactions.

                                    THIRTEENTH DEFENSE

       Defendant Spears specifically avers that any damages allegedly sustained by Plaintiff and

its insureds are the result of Plaintiff’s insureds’ and/or its contractors’ or subcontractors’ failure

to properly heed warnings and/or instructions included with and on Spears’ products and/or the

warnings and/or instructions included with any chemicals and/or other products which were

applied to or were otherwise in contact with Spears’ manufactured piping and fitting. The failure

to heed these warnings and/or instructions was the proximate cause of Plaintiff’s damages.

                                   FOURTEENTH DEFENSE

       Plaintiff’s insureds and/or their contractors or subcontractors failed to exercise reasonable

care and/or take reasonable precautions which would have prevented the damages Plaintiff now

claims. Plaintiff’s insureds further failed to supervise all personnel working on the Project,

including contractors, subcontractors, and/or consultants prior to the application of incompatible

chemicals and/or other products to Spears piping and fittings. This failure estops Plaintiff from

recovering damages from Spears.



                                                  18
        Case 3:21-cv-00431-BAJ-EWD              Document 8       09/27/21 Page 19 of 24




                                     FIFTEENTH DEFENSE

       Plaintiff’s insureds and/or its insured’s contractors or subcontractors failed to and/or did

not substantially comply with the proper installation, use, maintenance, and/or operation of Spears’

piping and fittings. The failure to properly install, use, maintain, and/or operate the piping and

fitting was the proximate cause of Plaintiff’s damages.

                                     SIXTEENTH DEFENSE

       It has been widely known in the construction industry for many years that CPVC pipe may

be incompatible with various chemical sprays and other materials, including pesticides and

moldicides. Upon information and belief, Nisus’ Bora-Care and Bora-Care with Mold Care contain

chemicals which are incompatible with Spears’ CPVC piping and fittings. Plaintiff, its insured,

and its insured’s contractors and subcontractors all knew or should have known of the presence of

those chemicals in Nisus’ chemical spray and all knew or should have known of its actual and/or

potential incompatibility with Spears’ CPVC piping and fittings.

                                   SEVENTEENTH DEFENSE

       In the alternative, and only in the event that Plaintiff establishes liability on the part of

Spears or any other party for whom Spears would be responsible, which is specifically denied,

Spears specifically avers that Plaintiff, its insured, and its insured’s contractors and subcontractors

were contributorily and/or comparatively negligent and recovery herein is defeated or mitigated,

or reduced by the percentage of fault allocable to Plaintiff’s, its insured’s, and its insured’s

subcontractors’ negligence.

                                    EIGHTEENTH DEFENSE

       In the further alternative, Spears specifically avers that Plaintiff, its insured, and its

insured’s contractors and subcontractors have failed to mitigate any alleged damages and recovery



                                                  19
        Case 3:21-cv-00431-BAJ-EWD              Document 8       09/27/21 Page 20 of 24




herein is defeated or mitigated.

                                    NINETEENTH DEFENSE

       Any damages Plaintiff alleges it has sustained were the result of superseding actions of a

third party for which Spears has no responsibility, or by intervening events, factors, circumstance,

occurrences, or conditions that were in no way caused or contributed to by Spears, and over which

Spears had no control.

                                     TWENTIETH DEFENSE

       If any CPVC pipe or fittings manufactured by Spears were in fact installed into the

buildings, Spears denies that any of that pipe or those fittings contained any defects that caused

any of the alleged damages, or, in the alternative, Spears affirmatively avers that any defects in the

pipe of fittings that resulted in damages were caused by an unforeseeable alteration, modification,

and/or misuse of the pipe or fittings, including the application by spraying or otherwise of

incompatible chemicals or other foreign substances or materials made by others, for whom Spears

has no responsibility.

                                   TWENTY-FIRST DEFENSE

       In the event that the jury or trier of fact finds that Spears bears any responsibility to

Plaintiff, which Spears denies, then Spears is entitled to a credit for any amounts paid to Plaintiff

by any and all parties or non-parties for the damages sought herein by Plaintiff.

                                   TWENTY-SECOND DEFENSE

       In the alternative, Spears specifically avers the fault of others who may have specified or

approved the use and application of incompatible products, including chemical pesticide or

moldicide sprays or any other foreign material, made by others, on any piping or fittings

manufactured by Spears that was installed in the buildings, when it or they knew or should have



                                                 20
          Case 3:21-cv-00431-BAJ-EWD            Document 8      09/27/21 Page 21 of 24




known such pesticide or moldicide sprays or other foreign materials were incompatible with

Spears’ CPVC piping or fittings.

                                   TWENTY-THIRD DEFENSE

          Defendant Spears denies that it breached any express or implied warranties with respect to

any CPVC piping or fittings manufactured by Spears that may have been installed in the building.

                                 TWENTY-FOURTH DEFENSE

          Defendant Spears pleads the terms, conditions, limitations of liability, and all warnings

contained in any installation instructions and/or published information or materials which

accompanied any CPVC piping or fittings manufactured by Spears that may have been installed

in the building, otherwise published or made available by Spears, including on its website and

including but not limited to the following warning against using Spears’ piping or fittings around

incompatible chemicals:

          WARNING: DO NOT expose Spears® FlameGuard® CPVC Fire Sprinkler
          Products to edible oils, esters, ketones, or petroleum-based products, such as
          cutting oils, packing oils, traditional pipe thread paste or dopes, and some
          lubricants. Do not store or install CPVC products in direct contact with
          plasticizer containing materials such as electrical tape or certain wire and
          cable insulations. Consult with the chemical manufacturer for compatibility
          with CPVC or Spears® before use. Contact with incompatible chemicals could
          cause serious personal injury, property damage, and product damage.

          Moreover, the following warning was included directly on CPVC pipe manufactured by

Spears:

          REFER TO SPEARS INSTALLATION INSTRUCTIONS FOR LISTING
          LIMITATIONS AND REQUIREMENTS. WARNING: LIFE SAFETY
          SYSTEM DO NOT USE OR ALLOW CHEMICALS OR CABLES TO
          COME IN CONTACT WITH THIS CPVC FIRE SPRINKLER SYSTEM.




                                                  21
        Case 3:21-cv-00431-BAJ-EWD               Document 8       09/27/21 Page 22 of 24




                                   TWENTY-FIFTH DEFENSE

        Defendant Spears further avers that the following warranty was included with its piping

and fittings:

        Spears® FlameGuard® LIMITED LIFETIME WARRANTY:

        COMPANY SHALL NOT BE LIABLE FOR, DOES NOT ASSUME, AND
        EXPRESSLY DISCLAIMS, ANY LIABILITY, RESPONSIBILITY AND
        DAMAGES: DUE TO ANY BUYER/END USER’S FAILURE TO COMPLY
        WITH THIS WARRANTY, INCLUDING IMPROPER INSTALLATION,
        USE OR OPERATION; USE WITH PRODUCTS FROM OTHER
        MANUFACTURERS THAT DO NOT MEET ASTM OR OTHER
        APPLICABLE PRODUCT STANDARDS; IMPROPER CONTROL OF
        SYSTEM HYDRAULICS, IMPROPER WINTERIZATION PROCEDURES,
        IMPROPER VOLTAGE SUPPLY, CONTACT WITH INCOMPATIBLE
        MATERIALS OR CHEMICALS, EXCAVATION/DIGGING, EXCESSIVE
        WEIGHT, AND VANDALISM; DUE TO REASONABLE WEAR AND
        TEAR AND DUE TO ANY ACTS OF NATURE, INCLUDING LIGHTNING,
        EARTHQUAKES, GROUND MOVEMENT, FROST HEAVE, OR FLOODS.

                                  TWENTY-SIXTH DEFENSE

        Defendant Spears specifically avers that any CPVC piping or fittings manufactured by

Spears that may have been installed in the buildings would have been sold under an express limited

warranty that contained the warning quoted in the previous affirmative defense, that specifically

waived all other express or implied warranties under law, including the warranty of redhibition,

and also waived all general, special, consequential, punitive or other damages recoverable by law,

including attorney fees, and that limited Spears’ liability for any defects in its products to the costs

of repair or replace the defective pipe, or return of its price. Upon information and belief, Plaintiff,

its insured, and its insured’s contractors and subcontractors were at all material times fully aware

of Spears’ express limited warranty.

                                TWENTY-SEVENTH DEFENSE

        Defendant Spears denies that it breached any warranties with respect to the design,



                                                  22
        Case 3:21-cv-00431-BAJ-EWD              Document 8       09/27/21 Page 23 of 24




manufacture, labeling, or distribution of any Spears product that may have been installed in the

buildings.

                                 TWENTY-EIGHTH DEFENSE

       Plaintiff’s claims may be barred, in whole or in part, by misuse or unintended use of the

product in question.

                                  TWENTY-NINTH DEFENSE

       Plaintiff’s claims are barred in whole or in part because the product at issue provided a

benefit to users of such product and greatly outweighed any risk created by using such product,

any risk could not have been avoided through the use of highest standards of scientific and

technical knowledge available at the time, the benefit provided to users could not be achieved in

another manner with less risk, and the adequate warnings concerning the risks were provided.

                                     THIRTIETH DEFENSE

       The claims of Plaintiff may be barred, in whole or in part, from recovery, due to spoliation

of evidence and the failure to preserve evidence necessary to the determination of the claims.

                                   THIRTY-FIRST DEFENSE

       Because the Complaint is plead in conclusory terms, Defendant Spears cannot fully

anticipate all affirmative defenses that may be applicable to this action and, therefore, reserves the

right to assert any and all affirmative and/or additional defenses that may become applicable based

on information learned during discovery.

                                 REQUEST FOR JURY TRIAL

       Spears hereby demands a trial by jury on all issues and claims.

       WHEREFORE, Defendant, Spears, prays that its Answer be deemed good and sufficient

and that after due proceedings are had, there be judgment rendered in favor of Spears and against



                                                 23
        Case 3:21-cv-00431-BAJ-EWD                Document 8         09/27/21 Page 24 of 24




Plaintiff, dismissing their suit at their costs and for all general and equitable relief. Defendant

further prays for trial by jury on all issues so triable.



                                                  Respectfully Submitted,

                                                  IRWIN, FRITCHIE, URQUHART, & MOORE

                                                  /s/ Quentin F. Urquhart, Jr._________
                                                  Quentin F. Urquhart, Jr. (#14475)
                                                  Connor Peth (#39499)
                                                  400 Poydras Street, Suite 2700
                                                  New Orleans, Louisiana 70130
                                                  Telephone: (504) 310-2100
                                                  Facsimile: (504) 310-2101
                                                  Counsel for Spears Manufacturing Co.




                                   CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing pleading was filed electronically with the Clerk
of Court using the Court’s CM/ECF system and a copy sent to all counsel of record by electronic
means on the 27th day of September, 2021.


                                                            /s/ Quentin F. Urquhart, Jr._________




                                                   24
